     Case 2:21-cv-01479-RFB-DJA Document 35 Filed 05/30/23 Page 1 of 1




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 2
                                 UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
 4
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 5
      Mark Clifford Sykes,                                 Case No. 2:21-cv-01479-RFB-DJA
 6
                             Plaintiff,
 7                                                                             Order
            v.
 8
      Las Vegas Metropolitan Police Department, et
 9    al.,
10                           Defendants.
11

12          Before the Court is Plaintiff’s motion to extend the time for service. (ECF No. 34).

13   Plaintiff explains that he recently learned that Defendant Officer Hunt is no longer employed with

14   the Las Vegas Metropolitan Police Department (“LVMPD”) and thus needs additional time to

15   locate him for service. Plaintiff asks for an additional 90 days to complete service. The service

16   deadline is set to end on May 31, 2023. (ECF No. 23 at 9).

17          Under Federal Rule of Civil Procedure 4(m), “if the plaintiff shows good cause for the

18   failure [to serve a defendant within 90 days after the complaint is filed], the court must extend the

19   time for service for an appropriate period.” Here, Plaintiff has demonstrated good cause for being

20   unable to serve Defendant Hunt within the 90 days allotted. As Plaintiff points out, Officer Hunt

21   is no longer employed by the LVMPD and Plaintiff must attempt to locate him. Plaintiff is also

22   proceeding pro se.

23          IT IS THEREFORE ORDERED that Plaintiff’s motion (ECF No. 34) is granted.

24   Plaintiff shall have until August 28, 2023 to complete service.

25

26          DATED: May 30, 2023

27
                                                           DANIEL J. ALBREGTS
28                                                         UNITED STATES MAGISTRATE JUDGE
